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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                    )
 In re:                                                             ) Chapter 11
                                                                    )
 TEHUM CARE SERVICES, INC.,1                                        ) Case No. 23-90086 (CML)
                                                                    )
                                     Debtor.                        )
                                                                    )

                                      CERTIFICATE OF SERVICE

      I, Thomas Peterson, depose and say that I am employed by Kurtzman Carson Consultants
LLC (KCC), the claims and noticing agent for the Debtor in the above-captioned case.

          On or before December 26, 2023, I caused copies of the
               [Customized for Rule 3001(e)(2) or 3001(e)(4)] Notice of Transfer of Claim
                  Pursuant to F.R.B.P. 3001(e)(2) or 3001(e)(4) [Re Docket Nos. 1078, 1098, & 1117]
          to be served on the parties attached hereto as Exhibit A via First Class Mail.


          Furthermore, on or before December 26, 2023, I caused copies of the
              • [Customized for Rule 3001(e)(1) Through Rule 3001(e)(4)] Notice of Rejection of
                  Transfer of Claim Pursuant to F.R.B.P. 3001(e)(1) Through 3001(e)(4) [Re
                  Docket Nos. 1079 & 1116]
          to be served on the parties attached hereto as Exhibit B via First Class Mail.

Dated: December 29, 2023
                                                               /s/ Thomas Peterson
                                                               Thomas Peterson
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1 The last four digits of the Debtor’s federal tax identification number is 8853. The Debtor’s service address is: 205
  Powell Place, Suite 104, Brentwood, Tennessee 37027.
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                        Exhibit A
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                                                                                      Exhibit A
                                                                             Rule 3001(e)(2) or 3001(e)(4)
                                                                              Served via First Class Mail


                                                                                                                        Claim    Claim    Transferred Docket    Party
          CreditorName               CreditorNoticeName            Address1               City        State     Zip    Number   Amount      Amount    Number Description
  Boyce & Bynum Path Pro Serv                                300 Portland St Ste 110 Columbia         MO    65201-7390   477  $129,002.32 $129,002.32 1078    Transferor
  Boyce & Bynum Path Pro Serv                                200 Portland St         Columbia         MO    65201        477  $129,002.32 $129,002.32 1078 Notice Party
  TRC Master Fund LLC              Attn Terrel Ross          PO Box 633              Woodmere         NY    11598        477  $129,002.32 $129,002.32 1078   Transferee

                                                             84 Herbert Ave. Building
  CRG Financial LLC                                          B, Suite 202             Closter         NJ     07624        58    $8,383.34    $8,383.34    1098   Transferee
                                                             365 5th Ave South, Suite
  Progressive Medical USA, Inc                               201                      Naples          FL     34102        58    $8,383.34    $8,383.34    1098   Transferor

  Logicalis                        Department 172301         PO Box 67000             Detroit         MI     48267-1723   426   $87,148.83   $87,148.83   1117   Notice Party
                                                             3910 Telegraph Road,
  Logicalis, Inc.                  Jonathan B. Frank, Esq.   Suite 200                Bloomfield Hills MI    48302        426   $87,148.83   $87,148.83   1117   Transferor
  TRC Master Fund LLC              Attn Terrel Ross          PO Box 633               Woodmere         NY    11598        426   $87,148.83   $87,148.83   1117   Transferee




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                        Exhibit B
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                                                                  Exhibit B
                                                          Rule 3001(e)(1) - 3001(e)(4)
                                                                  Rejected
                                                          Served via First Class Mail

                                                                                                                   Docket    Party
             CreditorName             CreditorNoticeName             Address1               City  State     Zip   Number Description
     Boyce & Bynum Path Pro Serv                              300 Portland St Ste 110    Columbia MO    65201-7390 1079    Transferor
     Boyce & Bynum Path Pro Serv                              200 Portland St            Columbia MO    65201       1079  Notice Party
     TRC Master Fund LLC            Attn Terrel Ross          PO Box 633                 Woodmere NY    11598       1079  Transferee

     Logicalis                      Department 172301         PO Box 67000               Detroit    MI   48267-1723   1116   Notice Party
                                                              3910 Telegraph Road,       Bloomfield
     Logicalis, Inc.                Jonathan B. Frank, Esq.   Suite 200                  Hills      MI   48302        1116   Transferor
     TRC Master Fund LLC            Attn Terrel Ross          PO Box 633                 Woodmere NY     11598        1116   Transferee




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